Case 21-11728-JDW   Doc 19    Filed 12/06/21 Entered 12/06/21 17:38:20   Desc Main
                             Document      Page 1 of 5
Case 21-11728-JDW   Doc 19    Filed 12/06/21 Entered 12/06/21 17:38:20   Desc Main
                             Document      Page 2 of 5
Case 21-11728-JDW   Doc 19    Filed 12/06/21 Entered 12/06/21 17:38:20   Desc Main
                             Document      Page 3 of 5
Case 21-11728-JDW   Doc 19    Filed 12/06/21 Entered 12/06/21 17:38:20   Desc Main
                             Document      Page 4 of 5
Case 21-11728-JDW   Doc 19    Filed 12/06/21 Entered 12/06/21 17:38:20   Desc Main
                             Document      Page 5 of 5
